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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

   AMERITAS LIFE INSURANCE CORP., :
                                       :
                            Plaintiff, :
                                       :
                   v.                  : C.A. No.: 23-236 (GBW)
                                       :
   WILMINGTON SAVINGS FUND             :
   SOCIETY, FSB, SOLELY AS             :
   SECURITIES INTERMEDIARY,            :
                                       :
                           Defendant.
                                       :

    JOINT STIPULATION AND [PROPOSED] ORDER FOR EXTENSION OF
        REMAINING DISPOSITIVE MOTION BRIEFING DEADLINES

        WHEREAS, Plaintiff filed dispositive motions on February 28, 2025 (D.I.

  213, D.I. 218).

        WHEREAS, on March 21, 2025, the parties (at Defendant’s request)

  stipulated to extend Defendant’s deadline to oppose these dispositive motions by

  two weeks. D.I. 226. Plaintiff did not seek an extension, but sought only to have its

  reply deadline reset.

        WHERAS, on March 24, 2025, the Court entered an order granting the

  parties’ stipulation (D.I. 226), setting Defendant’s deadline to file its opposition

  papers on April 14, 2025, and re-setting Plaintiff’s deadline to file reply papers on

  May 5, 2025.
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        WHERAS, Plaintiff now seeks, and Defendant has agreed to, a one-week

  extension of Plaintiff’s deadline to file its reply papers in support of its dispositive

  motions (D.I. 213, D.I. 218)—i.e., that Plaintiff’s reply papers would now be due on

  May 12, 2025.

        WHEREAS, Good cause exists for granting the requested extension,

  including because this would be Plaintiff’s first extension of any dispositive motion

  deadline, the requested extension is short (one week), the requested extension is

  proportionate given the prior two-week extension for Defendant’s opposition papers,

  the extension requested herein is not being sought for purposes of delay or any other

  improper purpose, and no party will be prejudiced by the requested extension.

        NOW THEREFORE, it is hereby stipulated and agreed by the Parties hereto,

  subject to Court approval, that Plaintiff’s deadline to submit reply papers in support

  of its dispositive motions (D.I. 213, D.I. 218) shall be extended by one week to May

  12, 2025.

  AGREED TO BY AND BETWEEN:

   COZEN O’CONNOR                                K&L GATES LLP

   /s/ Kaan Ekiner                               /s/ Matthew B. Goeller
   Kaan Ekiner (No. 5607)                        Steven L. Caponi (No. 3484)
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   -and-                                      ORRICK, HERRINGTON &
                                              SUTCLIFFE LLP
   Joseph M. Kelleher (pro hac vice)
   Kara E. Cheever (pro hac vice)             Khai LeQuang (pro hac vice)
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   Attorneys for Plaintiff,                   rkrebs@orrick.com
   Ameritas Life Insurance Corp.
                                              Attorneys for Defendant Wilmington
                                              Savings Fund Society, FSB, solely as
                                              Securities Intermediary
  Dated: April 29, 2025



           SO ORDERED this ____ day of ________________________, 2025.



                                        Honorable Gregory B. Williams, U.S.D.J.




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